                                                                       Case 2:23-ap-01167-SK              Doc 5 Filed 06/07/23 Entered 06/07/23 10:47:07        Desc
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                                                                   7     [Proposed] Counsel to Bradley D. Sharp, Chapter 11
                                                                         Trustee
                                                                   8

                                                                   9                                      UNITED STATES BANKRUPTCY COURT

                                                                  10                                       CENTRAL DISTRICT OF CALIFORNIA

                                                                  11                                                  LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12     In re:                                                    Case No.: 2:23-bk-10990-SK
                                        LOS ANGELES, CALIFORNIA




                                                                  13     LESLIE KLEIN,                                             Adv. Case No.: 2:23-ap-01167-SK
                                           ATTORNEYS AT LAW




                                                                  14                                          Debtor               Chapter 11

                                                                  15
                                                                         BRADLEY D. SHARP, Chapter 11 Trustee,
                                                                  16
                                                                                                      Plaintiff,                   SUMMONS SERVICE EXECUTED
                                                                  17
                                                                                  v.
                                                                  18
                                                                         KENNETH KLEIN, an individual and SHOSHANA
                                                                  19     SHRIFA KLEIN, an individual,

                                                                  20                                               Defendant(s).
                                                                  21

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): (1) SUMMONS AND NOTICE OF STATUS
CONFERENCE [DKT. NO. 2-1]; (2) COMPLAINT FOR AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFER
[DKT. NO. 1]; AND (3) EARLY MEETING OF COUNSEL, JOINT STATUS REPORT AND STATUS CONFERENCE
INSTRUCTIONS [DKT. NO. 2] will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 7, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) June 7, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 7, 2023                   Mary de Leon                                                    /s/ Mary de Leon
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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ADDITIONAL MAILING INFORMATION FOR Case 2:23-ap-01167-SK

VIA CERTIFIED MAIL,
RETURN RECEIPT REQUESTED

Kenneth Klein
306 N. Highland Ave
Los Angeles, CA 90036-2630

Shoshana Shrifa Klein
306 N. Highland Ave
Los Angeles, CA 90036-2630

Kenneth Klein
14245 Ventura Blvd., 3rd Floor
Sherman Oaks, CA 91423-2773

Shoshana Shrifa Klein
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Sherman Oaks, CA 91423-2773




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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